Case 1:21-mj-00082-ZMF Document1 Filed 01/16/21 Page 1 of 1

AO 91 (Rev. 11/11) Criminal Complaint

UNITED STATES DISTRICT COURT

 

 

 

for the
District of Columbia
United States of America Case: 1:21—-mj-00082
GRACYN DAWN COURTRIGHT ) Assigned To : Faruqui, Zia M.
) Assign. Date : 1/16/2021
Description: Complaint w/ Arrest Warrant
)
Defendant(s)
CRIMINAL COMPLAINT
I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of January 6, 2021 in the county of in the
District of Columbia , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. 1752 (a)(1) Knowingly Entering or Remaining in any Restricted Building or Grounds
Without Lawful Authority
18 U.S.C. 1752 (a)(2) Knowingly Engages in Disorderly or Disruptive Conduct in any Restricted
Building or Grounds
40 U.S.C. 5104(e)(2)(D), (G) Violent Entry and Disorderly Conduct on Capitol Grounds
18 U.S.C. 641 Theft of Government Property (under $1,000)

This criminal complaint is based on these facts:

See attached statement of facts.

@& Continued on the attached sheet.

 

Complainant's signature

Mariam Hanna--Special Agent (FBI)
Printed name and title

 

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by

 

Telephone (specify reliable electronic means). te 2021.01.16

Date: 01/16/2021 7" 12:50:38 -05'00'
Judge's signature

City and state: Washington, D.C. Zia M. Faruqui, U.S. Magistrate Judge

 

Printed name and title
